 
  

[N THE UNITED STATES DISTRICT CO
FOR THE WES'I'ERN DISTRICT OF TENNES

 

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KATlNA WmTE, 7 ¢/
Plaintift`,
vs. ` Civil Action No. 03-129s-T-An

DURA AUTOMOTIVE SYSTEMS INC.,

Defcndant.

 

ORDER OF DISMISSAL

 

The Plaintiff and Defendant having compromised and settled all claims arising out of this

suit, IT IS ORDERED that this case is hereby Dismissed with prejudice.

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(W.€RABLE JAMES TODD
__,,_m F H/ ;? m uaw s
P‘~’/‘H L/ f le
j Ilee { \‘/
Attorney for Plaintif¥

147 Jefferson Avenue, Suite 406
Memphis, TN 38103

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hahn P. Scruggs
Attorney for Defendant
80=Monroe, Suite 650
Memphis, 'I'N 38103

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with Rule 58 and'or 79 (a) FF\CP on § !“4 29

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This notice confirms a copy of the document docketed as number 25 in
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Peggy J. Lee

LEE LAW FIRM
147 Jefferson

Ste. 406

Memphis7 TN 38103

John P. Scruggs

ALLEN SCRUGGS SOSSAMAN THOMPSON SIMPSON & LILLIE
80 Monroe Ave.

Ste. 650

Memphis7 TN 38103--246

Katina White
253 W. Front St.
Bradford, TN 383 16

Honorable J ames Todd
US DISTRICT COURT

